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Attorney for Defendant
CLIFFORD BULLOCK



                          IN THE UNITED STATES DISTRICT COURT

                        FOR THE EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA,                    )
                                             )      Cr. No. S-12-169 MCE
                        Plaintiff,           )
                                             )      STIPULATION AND
                                             )      ORDER CONTINUING STATUS
v.                                           )      CONFERENCE; FINDING OF
                                             )      EXCLUDABLE TIME
                                             )
CLIFFORD BULLOCK                             )      Date: January 29, 2015
                                             )      Time: 9:00 a.m.
                        Defendant.           )      Judge: Hon. Morrison C. England, Jr.
                                         )


                                        STIPULATION

       Plaintiff, United States of America, through Assistant U.S. Attorney Jason Hitt and

defendant Clifford Bullock, through his attorney of record, Hayes H. Gable III, hereby stipulate

and agree as follows:

       1. A status conference is currently set for January 29, 2015, at 9:00 a.m.

       2. By this stipulation, the above-named defendant now moves to continue the status




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conference to February 19, 2015, at 9:00 a.m., and to exclude time between January 29, 2015 and

February 19, 2015 under Local Code T4. Plaintiff does not oppose this request.

       3. The basis upon which the parties agree to this proposed continuance of the status

conference is that counsel for defendant in currently in trial in the case of United States v.

Kuzmenko et al., case no. 2:11-cr-00210 JAM.

       4. Based on the above-stated finding, the ends of justice served by continuing the status

conference as requested outweigh the best interest of the public and the defendants in a trial

within the original date prescribed by the Speedy Trial Act.

       e.      For the purpose of computing time under the Speedy Trial Act, 16 U.S.C. § 3161,

               et seq., within which trial must commence, the time period from January 29,

               2015,to February 19, 2015. , inclusive, is deemed excludable pursuant to 18

               U.S.C. § 3151(h)(7)(a), B(iv) [Local Code T4] because it results from a

               continuance by the Court at the defendant’s request on the basis of the Court’s

               finding that the ends of justice served by taking such action outweigh the best

               interest of the public and the defendant in a speedy trial.

       4. Nothing in this stipulation and order shall preclude a finding that other provisions of

the Speedy Trial Act dictate that additional time periods are excludable from the period within

which a trial must commence.

       IT IS SO STIPULATED.

DATED: January 27, 2015                BENJAMIN B. WAGNER
                                       United States Attorney

                                        /s/ Jason Hitt
                                       JASON HITT
                                       Assistant United States Attorney
                                       Attorney for Plaintiff United States




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DATED: January 27, 2015
                             /s/ Hayes H. Gable III
                             HAYES H. GABLE III
                             Attorney for Defendant Clifford Bullock


                                   ORDER


      IT IS SO ORDERED.


Dated: January 28, 2015




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